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 4
     Attorney for Defendant
 5
     Damone D. Block
 6
                            IN THE UNITED STATES MAGISTRATE COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                         ) No. 2:08 CR 212 LKK/TLN
                                                       )
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                                                       )
             Plaintiff,                                ) APPLICATION AND ORDER
11
                                                       ) EXONERATING BOND
     v.                                                )
12
                                                       )
     DAMONE D. BLOCK,                                  )
13
                                                       )
                                                       )
14           Defendant.                                )
                                                       )
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                                                       )
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             On December 12, 2009, defendant Damone D. Block was sentenced by the Hon.
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     Lawrence K. Karlton. (Mr. Block was subsequently "re-sentenced" on February 3, 2015, by the
19
     Honorable Troy L. Nunley.) Defendant had previously posted a $200,000.00 appearance bond
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     secured by a deed of trust on/for the property (and residence) located at 3646 Taylor Street,
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     Sacramento, CA 95838 (ECF #278). Accordingly, the surety for the defendant’s bail bond is
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     entitled to the release of the home title, and it is respectfully requested that this Court direct the
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     Clerk of the Court to reconvey title forthwith, and that the bond be exonerated.
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 1

 2   DATED: January 8, 2019              /s/ John R. Manning
                                         Attorney for Defendant
 3
                                         Damone D. Block
 4

 5   IT IS SO ORDERED.
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 7   Dated: January 8, 2019

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